            Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 1 of 19

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


     ANDRES VINAS, and JHON VINAS, On
     behalf of themselves and all others similarly
     situated,
                                                                     ANSWER
     Plaintiffs,                                               AFFIRMATIVE DEFENSES

     v.                                                                1:18-cv-01699

     PROCIDA CONSTRUCTION CORP.,
     P.MEJIAS CLEANING SERVICE, and
     PEDRO MEJIAS,

     Defendants.


           Defendants PMEJIAS CLEANING SERVICE, and PEDRO MEJIAS (hereinafter

collectively referred to as “Defendants”), by way of Answer to the Complaint, state as follows:

                              “AS TO PRELIMINARY STATEMENT”

1.         Paragraph 1 of the Complaint asserts legal conclusions to which no answer is required. To

the extent an answer is required, Defendants deny each and every allegation in Paragraph 1 of the

Complaint.

2.         Defendants deny the allegations asserted in Paragraph 2 of the Complaint and leave

Plaintiffs to their proofs.

3.         Defendants deny the allegations asserted in Paragraph 3 of the Complaint and leave

Plaintiffs to their proofs.

4.         Defendants deny the allegations asserted in Paragraph 4 of the Complaint and leave

Plaintiffs to their proofs.

5.         Defendants deny the allegations asserted in Paragraph 5 of the Complaint and leave

Plaintiffs to their proofs.

6.         Defendants deny the allegations asserted in Paragraph 6 of the Complaint and leave

Plaintiffs to their proofs.
                                                     1
         Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 2 of 19

7.      Paragraph 7 of the Complaint asserts legal conclusions to which no answer is required. To

the extent an answer is required, Defendants deny each and every allegation in Paragraph 7 of the

Complaint.

8.      Paragraph 8 of the Complaint asserts legal conclusions to which no answer is required. To

the extent an answer is required, Defendants deny each and every allegation in Paragraph 8 of the

Complaint.

9.      Paragraph 9 of the Complaint asserts legal conclusions to which no answer is required. To

the extent an answer is required, Defendants deny each and every allegation in Paragraph 9 of the

Complaint.

                              “AS TO JURISDICTION AND VENUE”

10.     Paragraph 10 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 10

of the Complaint.

11.     Paragraph 11 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 11

of the Complaint.

12.     Paragraph 12 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 12

of the Complaint.

                                      “AS TO PARTIES”
                                     Plaintiffs and Opt-Ins

13.     Defendants deny the allegations asserted in Paragraph 13 of the Complaint and leave

Plaintiffs to their proofs.




                                                2
         Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 3 of 19

14.     Paragraph 14 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny the allegations asserted in Paragraph 14 of

the Complaint and leave Plaintiffs to their proofs.

15.     Defendants deny the allegations asserted in Paragraph 15 of the Complaint and leave

Plaintiffs to their proofs.

16.     Defendants deny the allegations asserted in Paragraph 16 of the Complaint and leave

Plaintiffs to their proofs.

                                   P.Mejias Cleaning Service

17.     Defendants deny knowledge and/or information sufficient to form a belief as to the truth

of the allegations asserted in Paragraph 17 of the Complaint.

18.     Paragraph 18 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny the allegations asserted in Paragraph 18 of

the Complaint and leave Plaintiffs to their proofs.

19.     Defendants deny the allegations asserted in Paragraph 19 of the Complaint and leave

Plaintiffs to their proofs.

20.     Paragraph 20 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny the allegations asserted in Paragraph 20 of

the Complaint and leave Plaintiffs to their proofs.

                                  Procida Construction Group

21.     Defendants deny knowledge and/or information sufficient to form a belief as to the truth

of the allegations asserted in Paragraph 21 of the Complaint.

22.     Defendants deny knowledge and/or information sufficient to form a belief as to the truth

of the allegations asserted in Paragraph 22 of the Complaint.

23.     Defendants deny knowledge and/or information sufficient to form a belief as to the truth

of the allegations asserted in Paragraph 23 of the Complaint.

                                                 3
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 4 of 19

                            “AS TO CLASS ALLEGATIONS”

                                  FLSA Collective Action

24.    Paragraph 24 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 24

of the Complaint.

25.    Paragraph 25 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 25

of the Complaint.

26.    Paragraph 26 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 26

of the Complaint.

                                    Rule 23 Class Action

27.    Paragraph 27 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 27

of the Complaint.

28.    Paragraph 28 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 28

of the Complaint.

29.    Paragraph 29 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 29

of the Complaint.

30.    Paragraph 30 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 30

of the Complaint.



                                              4
         Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 5 of 19

31.     Paragraph 31 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 31

of the Complaint.

32.     Paragraph 32 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 32

of the Complaint.

33.     Paragraph 33 of the Complaint and all its subparagraphs asserts legal conclusions to which

no answer is required. To the extent an answer is required, Defendants deny each and every

allegation in Paragraph 33 and all its subparagraphs of the Complaint.

                COLLECTIVE & CLASSWIDE FACTUAL ALLEGATIONS

34.     Defendants deny the allegations asserted in Paragraph 34 of the Complaint and leave

Plaintiffs to their proofs.

35.     Defendants deny the allegations asserted in Paragraph 35 of the Complaint and leave

Plaintiffs to their proofs.

36.     Defendants deny the allegations asserted in Paragraph 36 of the Complaint and leave

Plaintiffs to their proofs.

37.     Defendants deny the allegations asserted in Paragraph 37 of the Complaint and leave

Plaintiffs to their proofs.

38.     Defendants deny the allegations asserted in Paragraph 38 of the Complaint and leave

Plaintiffs to their proofs.

39.     Defendants deny the allegations asserted in Paragraph 39 of the Complaint and leave

Plaintiffs to their proofs.

40.     Paragraph 40 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 40

of the Complaint.

                                                5
         Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 6 of 19

41.     Paragraph 41 of the Complaint and its subparagraphs asserts legal conclusions to which no

answer is required. To the extent an answer is required, Defendants deny each and every allegation

in Paragraph 41 and its subparagraphs of the Complaint.

42.     Paragraph 42 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 42

of the Complaint.

43.     Paragraph 43 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 43

of the Complaint.

44.     Paragraph 44 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 44

of the Complaint.

45.     Defendants deny the allegations asserted in Paragraph 45 of the Complaint and leave

Plaintiffs to their proofs.

46.     Defendants deny the allegations asserted in Paragraph 46 of the Complaint and leave

Plaintiffs to their proofs.

47.     Paragraph 47 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 47

of the Complaint.

48.     Defendants deny the allegations asserted in Paragraph 48 of the Complaint and leave

Plaintiffs to their proofs.

49.     Paragraph 49 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 49

of the Complaint.



                                                6
         Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 7 of 19

50.     Paragraph 50 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 50

of the Complaint.

51.     Defendants deny the allegations asserted in Paragraph 51 of the Complaint and leave

Plaintiffs to their proofs.

52.     Defendants deny the allegations asserted in Paragraph 52 of the Complaint and leave

Plaintiffs to their proofs.

53.     Defendants deny the allegations asserted in Paragraph 53 of the Complaint and leave

Plaintiffs to their proofs.

54.     Defendants deny the allegations asserted in Paragraph 54 of the Complaint and leave

Plaintiffs to their proofs.

55.     Paragraph 55 of the Complaint is not directed to the Answering Defendants. To the extent

Paragraph 55 is construed as directed to the Answering Defendants, Defendants deny each and

every allegation in Paragraph 55 of the Complaint.

56.     Paragraph 56 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 56

of the Complaint.

57.     Paragraph 57 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 57

of the Complaint.

58.     Defendants deny the allegations asserted in Paragraph 58 of the Complaint and leave

Plaintiffs to their proofs.

59.     Paragraph 59 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 59

of the Complaint.

                                               7
         Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 8 of 19

60.     Paragraph 60 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 60

of the Complaint.

61.     Paragraph 61 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 61

of the Complaint.

62.     Defendants deny the allegations asserted in Paragraph 62 of the Complaint and leave

Plaintiffs to their proofs.

                     “AS TO INDIVIDUAL FACTUAL ALLEGATIONS”

                                        Andres Vinas

63.     Defendants deny the allegations asserted in Paragraph 63 of the Complaint and leave

Plaintiffs to their proofs.

64.     Defendants deny the allegations asserted in Paragraph 64 of the Complaint and leave

Plaintiffs to their proofs.

65.     Defendants deny the allegations asserted in Paragraph 65 of the Complaint and leave

Plaintiffs to their proofs.

66.     Defendants deny the allegations asserted in Paragraph 66 of the Complaint and leave

Plaintiffs to their proofs.

67.     Defendants deny the allegations asserted in Paragraph 67 of the Complaint and leave

Plaintiffs to their proofs.

                                          Jhon Vinas

68.     Defendants deny the allegations asserted in Paragraph 68 of the Complaint and leave

Plaintiffs to their proofs.

69.     Defendants deny the allegations asserted in Paragraph 69 of the Complaint and leave

Plaintiffs to their proofs.

                                               8
         Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 9 of 19

70.     Defendants deny the allegations asserted in Paragraph 70 of the Complaint and leave

Plaintiffs to their proofs.

71.     Defendants deny the allegations asserted in Paragraph 71 of the Complaint and leave

Plaintiffs to their proofs.

72.     Defendants deny the allegations asserted in Paragraph 72 of the Complaint and leave

Plaintiffs to their proofs.

                              “AS TO FIRST CAUSE OF ACTION”

                                    Fair Labor Standards Act

73.     Defendants repeat and re-allege each of the above paragraphs as if set forth at length herein.

74.     Paragraph 74 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 74

of the Complaint.

75.     Paragraph 75 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 75

of the Complaint.

76.     Paragraph 76 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 76

of the Complaint.

77.     Paragraph 77 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 77

of the Complaint.

78.     Paragraph 78 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 78

of the Complaint.



                                                  9
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 10 of 19

79.    Paragraph 79 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 79

of the Complaint.

80.    Paragraph 80 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 80

of the Complaint.

                           “AS TO SECOND CAUSE OF ACTION”

                       New York Labor Law: Unpaid Overtime Wages

81.    Defendants repeat and re-allege each of the above paragraphs as if set forth at length herein.

82.    Paragraph 82 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 82

of the Complaint.

83.    Paragraph 83 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 83

of the Complaint.

84.    Paragraph 84 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 84

of the Complaint.

85.    Paragraph 85 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 85

of the Complaint.

                           “AS TO THIRD CAUSE OF ACTION”

                             New York Labor Law: Annual Notice

86.    Defendants repeat and re-allege each of the above paragraphs as if set forth at length herein.



                                                10
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 11 of 19

87.    Paragraph 87 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 87

of the Complaint.

88.    Paragraph 88 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 88

of the Complaint.

89.    Paragraph 89 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 89

of the Complaint.

90.    Paragraph 90 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 90

of the Complaint.

91.    Paragraph 91 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 91

of the Complaint.

                          “AS TO FOURTH CAUSE OF ACTION”

                           New York Labor Law: Wage Statements

92.    Defendants repeat and re-allege each of the above paragraphs as if set forth at length herein.

93.    Paragraph 93 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 93

of the Complaint.

94.    Paragraph 94 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 94

of the Complaint.



                                                11
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 12 of 19

95.    Paragraph 95 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 95

of the Complaint.

96.    Paragraph 96 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 96

of the Complaint.

97.    Paragraph 97 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 97

of the Complaint.

                            “AS TO FIFTH CAUSE OF ACTION”

                                       Breach of Contract

98.    Defendants repeat and re-allege each of the above paragraphs as if set forth at length herein.

99.    Paragraph 99 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 99

of the Complaint.

100.   Paragraph 100 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 100

of the Complaint.

101.   Paragraph 101 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 101

of the Complaint.

102.   Paragraph 102 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 102

of the Complaint.

                          “AS TO FOURTH CAUSE OF ACTION”

                                                12
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 13 of 19

                                      (Pled in the Alternative)

                                         Unjust Enrichment

103.    Defendants repeat and re-allege each of the above paragraphs as if set forth at length herein.

104.    Defendants deny each and every allegation in Paragraph 104 of the Complaint.

105.    Paragraph 105 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 105

of the Complaint.

106.    Defendants deny each and every allegation in Paragraph 106 of the Complaint.

107.    Paragraph 107 of the Complaint asserts legal conclusions to which no answer is required.

To the extent an answer is required, Defendants deny each and every allegation in Paragraph 107

of the Complaint.

                                “AS TO PRAYER FOR RELIEF”

        Defendants deny the allegations asserting prayer for relief, and its subparagraphs, and aver

that Plaintiffs are not entitled to any of the relief requested therein or any other relief.

                                    AFFIRMATIVE DEFENSES

        Defendants assert the following allegations as affirmative defenses without admitting that

it bears the burden of persuasion or presentation of evidence on each or any of these matters.

                                FIRST AFFIRMATIVE DEFENSE

1.      The Complaint, in whole or in part, fails to state a claim upon which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE

2.      At no time material hereto did any of the Defendants act in a willful, wanton, reckless, and

or malicious manner or with reckless disregard of the applicable laws.

                               THIRD AFFIRMATIVE DEFENSE

3.      Plaintiffs are not entitled to any of the relief requested in the Complaint and Defendants

acted in good faith at all times.

                                                   13
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 14 of 19

                              FOURTH AFFIRMATIVE DEFENSE

4.      Plaintiffs’ claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred, in whole or in part, by the doctrines of

laches, delay, waiver, estoppel, acquiescence, and or excuse.

                               FIFTH AFFIRMATIVE DEFENSE

5.      Plaintiffs’ claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred, in whole or in part, by misconduct on

each Plaintiff’s part and/or unsatisfactory job performance.

                               SIXTH AFFIRMATIVE DEFENSE

6.      Plaintiffs’ claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred, in whole or in part, by the failure to utilize

internal procedures to seek redress of any complaints.

                             SEVENTH AFFIRMATIVE DEFENSE

7.      Plaintiffs’ claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred, in whole or in part, by the failure to

mitigate damages, if any.

                              EIGHTH AFFIRMATIVE DEFENSE

8.      Plaintiffs’ claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred, in whole or in part, by the doctrine of

unclean hands, estoppel, accord and satisfaction, offset and/or setoff.

                               NINTH AFFIRMATIVE DEFENSE

9.      Defendants are not “employers” under the FLSA, or the NYLL.

                               TENTH AFFIRMATIVE DEFENSE

10.     The Complaint is barred, in whole or in part, by misconduct on Plaintiff’s part and/or

unsatisfactory job performance.

                                                   14
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 15 of 19

                           ELEVENTH AFFIRMATIVE DEFENSE

11.    The Complaint is barred, in whole or in part, based upon Plaintiff’s fraudulent conduct

concerning the alleged hours worked.

                            TWELFTH AFFIRMATIVE DEFENSE

12.    Plaintiff’s claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred, in whole or in part, by the applicable

statute of limitations, including but not limited to, the Portal-to-Portal Pay Act, 29 U.S.C. Section

255, and New York Labor Law Section 663.

                          THIRTEENTH AFFIRMATIVE DEFENSE

13.    Plaintiff’s claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, fail to set forth allegations with particularity and

specificity as required by Rule 9(b) of the Federal Rules of Civil Procedure.

                         FOURTEENTH AFFIRMATIVE DEFENSE

14.    Plaintiff’s damages, and the alleged damages of each putative member of the purported

class defined in the Complaint as others similarly situated, if any, were caused by their own actions

and/or omissions.

                           FIFTEENTH AFFIRMATIVE DEFENSE

15.    Plaintiff’s claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred as they have ratified the activities of the

Defendants.

                           SIXTEENTH AFFIRMATIVE DEFENSE

16.    Plaintiff’s claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, fails to state a claim upon which compensatory,

punitive or liquidated damages may be granted.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

                                                 15
           Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 16 of 19

17.     Any act(s) and/or omission(s) which may be found to be in violation of the rights afforded

by the applicable law(s) asserted herein were not willful, but occurred in good faith and were based

upon reasonable factors.

                           EIGHTEENTH AFFIRMATIVE DEFENSE

18.     An award of liquidated damages would be an unconstitutional denial of Defendants’ rights

to due process and/or equal protection under the Fifth and Fourteenth Amendments to the United

States Constitution.

                           NINETEENTH AFFIRMATIVE DEFENSE

19.     Plaintiff’s claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred in whole or in part because the work

alleged to be unpaid is not compensable time under the applicable laws, including because it was

preliminary, postliminary and/or de minimis.

                           TWENTIETH AFFIRMATIVE DEFENSE

20.     Plaintiff’s claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred because the work alleged to be unpaid is

invalid.

                         TWENTY-FIRST AFFIRMATIVE DEFENSE

21.     Plaintiff’s claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred as he fails to satisfy class and or collective

action criteria, and therefore cannot proceed as a class or collective action.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

22.     Plaintiff’s claims, and the claims of each putative member of the purported class defined

in the Complaint as others similarly situated, are barred because the Complaint is uncertain in that

the purported class definition is ambiguous and conclusory.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

                                                  16
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 17 of 19

23.    The types of claims alleged by Plaintiff on behalf of himself and on behalf of the purported

class defined in the Complaint as others similarly situated, the existence of which is expressly

denied, are matters in which individual questions predominate and, accordingly, are not

appropriate for collective or class action treatment.

                       TWENTY-FOURTH AFFIRMATIVE DEFENSE

24.    If Defendants’ alleged failure to pay Plaintiff, and of each putative member of the class she

purports to represent, as defined in the Complaint as others similarly situated, overtime wages was

unlawful, although such is not admitted, Defendants have a good faith and reasonable belief that

the failure to pay such wages was not unlawful and none of Defendants’ actions or omissions

constitute a willful violation of the FLSA or NYLL.

                        TWENTY-FIFTH AFFIRMATIVE DEFENSE

25.    If Defendants’ alleged failure to pay Plaintiff, and each putative member of the class they

purport to represent, as defined in the Complaint as others similarly situated, overtime wages were

unlawful, although such is not admitted, Plaintiff has not demonstrated and cannot demonstrate

facts sufficient to warrant an award of liquidated damages.

                        TWENTY-SIXTH AFFIRMATIVE DEFENSE

26.    Plaintiff’s claims and the claims of each putative member of the purported class defined in

the Complaint as others similarly situated are barred, in whole or in part, by the doctrines of accord

and satisfaction and payment.

                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE

27.    Plaintiff’s claims and the claims of each putative member of the purported class defined in

the Complaint as others similarly situated are barred, in whole or in part, by their knowing and

voluntary, express or implied, agreement to and participation in the compensation agreement(s),

arrangement(s), plan(s), and/or scheme(s), which he now claims is illegal.

                       TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                                                 17
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 18 of 19

28.     Plaintiff’s claims and the claims of each putative member of the purported class defined in

the Complaint as others similarly situated are barred, in whole or in part, because such claims

have been released, waived, discharged, and/or abandoned.

                        TWENTY-NINTH AFFIRMATIVE DEFENSE

29.     The Complaint fails to the extent it asserts an action on behalf of others similarly situated

because Plaintiff is not an adequate representative of the purported class.

                            THIRTIETH AFFIRMATIVE DEFENSE

30.     The Complaint fails to the extent it asserts a class type action because the claims alleged

by Plaintiff are neither common to nor typical of those of the class he purports to represent, as

defined in the Complaint as others similarly situated.

                         THIRTY-FIRST AFFIRMATIVE DEFENSE

31.     Plaintiffs’ claims and claims of each putative member of the purported class defined in the

Complaint as others similarly situated are barred, in whole or in part, because Plaintiff failed to

satisfy the prerequisites for class certification or collective action and, therefore, lacks standing to

bring these claims and cannot represent the interests of others as to each of the purported causes

of action.

                        THIRTY-SECOND AFFIRMATIVE DEFENSE

32.     Defendants acted in good faith at all times and without fraud or malice toward Plaintiff and

each putative member of the class he purports to represent.

                         THIRTY-THIRD AFFIRMATIVE DEFENSE

33.     Plaintiffs’ claims and the claims of each putative member of the purported class defined in

the Complaint as others similarly situated are barred, in whole or in part, because they are exempt

under the applicable statues and regulations.

                                    ADDITIONAL DEFENSES

34.     Defendants reserve the right to raise any additional defenses as may be found to be merited

                                                  18
        Case 1:18-cv-01699-DCF Document 27 Filed 04/05/18 Page 19 of 19

during the course of discovery in, or trial of, this action, including without limitation any equitable

defenses.

                                DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Defendants, demand a trial

by jury on all issues so triable.

                             DESIGNATION OF TRIAL COUNSEL

        The Court is hereby advised that Michael K. Chong, Esq., is hereby designated as trial

counsel on behalf of Defendants.

        WHEREFORE, Defendants respectfully request that this Court enter judgment in their

favor, dismiss the Complaint with prejudice, award Defendants their costs, attorneys’ fees and

expenses, and grant such other relief as this Court deems proper.



Date: April 5, 2018                                    Law Offices of Michael Chong, LLC

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                                                       Michael K. Chong, Esq.
                                                       Attorney for Defendants

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                                                  19
